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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFpRNIA

         MINUTES -DETENTION HEARING - REVIEW/RECpNSIDERATION OF BAIL /DETENTION ORDER -
                                         NEBBIA HEARING

 Case No. g~18-mj-00257                                        Court~r~ Debbie Gale                 Date:-May 21, 20'18                _ _. .

Present: The Honorable Karen E. Scott                                                                     , U.S. Magistrate Judge
              Jazmin Dorado                MA~rk- TakIQ     .. ~1Y1AMA►7~Y1G ~1~1(,~C,                            none
               Deputy Clerk                           Assistant U.S. Attorney                             Interpreter/Language



  USA v. Stephen William Beal                                     Attorney Present for Defendant:
                                                                 Amy Karlin ' AY1C~    ~SQbG, ~uSSG[Y~A~~1
 ~l Present        Custody    ❑Bond   ❑Not present               ~ Present ❑ CJA       ❑ Retd        DFPD    ❑Not present

PROCEEDINGS: DETENTION HEARING
~ Government's request for detention is: '(GRANTED ❑DENIED ❑ WIT~IDRAWN ❑CONTINUED
❑ Witnesses CST (see separate list).             ❑Exhibits Marked/Admitted (see separate list).
❑ Court orders that exhibits be returned to the respective counsel /party of record.
     ❑ See Receipt for Release of E~chibits to Counsel.
❑ Counsel stipulation to bail
❑ Court finds presumption under 18 USC 3142e                                     has not been rebutted.
Ql Court ORDERS DEFENDANT PERMANENTLY DETAINED. See separate detention order.
❑ Court finds presumption under 18 USC 3142e                                     has been rebutted.
❑ Court sets bail at: $                                                ❑ SEA ATTACHED COPY OF CR-01 BOND FORM
     FOR CONDITIONS OF RELEASE.
❑ Court orders that defendant be detained for a period not to exceed ten (10) Court days. See separate order re temporary detention.
❑ Court orders further detention /bail hearing to be set on                                        at               ❑a.m./ Op.m. in
     Courtroom                                            before Judge
❑ Court orders case continued to                                   at            ❑a.m./ ❑p.m. for                            ,in
     Courtroom                                   before Judge
❑ Release Order Issued -Release No.~
~J Other: t'('GItYVll1fl61'(1~► }~If1~1d1 s~k -fir       513 l~ ~f tm ~ 1~~,r~ ~uage ~~.
  "~11~~-~wa~rkv,~.r_n.           ~Ivra~ANrv~Pln   4'L,    -Fv~ (~~~F11~      e~ ID:DDrnM           ?.(ire,    ~Ue~AG       GO

PROCEEDINGS:                  ❑REVIEW /RECONSIDERATION OF BAIL /DETENTION ORDER -BOND HEARING
                              ❑ NEBBIA HEARING
 Hearing on ❑Plaintiff's ❑Defendant's request for review /reconsideration of bail /detention order had and request is:
                           ❑ GRANTED ❑DENIED
 Court ORDERS bail as to the above-named defendant ❑modified to ❑set at: $
     ❑ SEE ATTACHED COPY OF CR-01 BOND FORM FOR CONDITIONS OF RELEASE.
 ❑ Bond previously set is ordered vacated.
 ❑ Court orders defendant permanently detained. See separate order.
 ❑ Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 ❑ Witnesses CST (see separate list).        ❑Exhibits Marked /Admitted (see separate list).
 ❑ Court orders that exhibits be returned to the respective counsel /party of record.
     ❑ See Receipt for Release of Exhibits to Counsel.
 ❑ Case continued to                                   at                ❑ a.m. / ❑ p.m. for
     before Judge                                                                 in Courtroom
 ❑ Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 ❑ Other


 Release Order Issued -Release No.                                                                               Db
                                                                                         Deputy Clerk Initials    J~)

M-46(06/10)    MINUTES -DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER - NEBBIA HEARING
